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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
        v.                                    :       Criminal No. 21-cr-139 (TNM)
                                              :
RACHAEL LYNN PERT, and                        :
DANA JOE WINN                                 :
              Defendants.                     :

                    GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence the defendant, Rachael Lynn Pert, to three months home confinement, 24 months

of probation, forty (40) hours of community service, and $500 in restitution.

   I.        Introduction

        The defendants, Dana Joe Winn and Rachael Lynn Pert, both Navy veterans, participated

in the January 6, 2021 attack on the United States Capitol—a violent attack that forced an

interruption of the certification of the 2020 Electoral College vote count, threatened the peaceful

transfer of power after the 2020 Presidential election, injured more than one hundred law

enforcement officers, and resulted in more than one million dollars of property damage.

        Both defendants pleaded guilty to one count of 18 U.S.C. § 1752(a)(1), Entering and

Remaining in a Restricted Building or Grounds. As explained herein, the sentenced requested

above is appropriate in this case because (1) the defendants traveled from Florida to the District of

Columbia, during which they recorded a Facebook live video wherein Defendant Winn states

“[g]ot her flags, come with her flagpole, that way I can hit Antifa in the head if need be”

demonstrating he was aware of the potential for violence that day and prepared accordingly; (2)

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both defendant’s gained entry into the Capitol building shortly after the building was breached; (3)

both defendants, by their own admissions, were part of a large group that were tear-gassed in an

effort to clear the building; (4) as both defendants walked further away from the building and

looked out over the Capitol grounds Defendant Pert stated “[w]ow, all those barricades are down

now. Remember when we came in? There was barricades.” Defendant Winn responded “[t]he

patriots took em.”and; (5) directly after exiting the Capitol building, in a video recorded by

Defendant Winn, Defendant Pert and Defendant Winn engaged in the following exchange:

       Pert: [talking to Winn] They said we stopped the vote.
       Winn: We stopped the vote?
       Pert: That's what they said, some people were saying we did stop the vote.
       Winn: Isn't that what we were trying to do?
       [40 seconds later]:
       Pert: [talking to unknown person] We were inside!
       Winn: And they were gassing us.
       Pert: We were trying to storm them to stop the vote and they were starting tear gassing and
forcing us out.

        This conversation makes clear the defendants’ intentions for coming to the District, and

specifically for entering the U.S. Capitol building: stopping the certification of the electoral college

vote.

        Even though neither defendant personally engaged in violence or property destruction

during the riot, both encouraged and celebrated the events of that day as they were happening. In

the same video referenced above, shortly after both defendants exited the building, they did not

immediately leave Capitol grounds or otherwise comply with law enforcement. They engaged in

conversations with other rioters, bragging about being tear-gassed by law enforcement and forced

out of the building, while they tried to “stop the vote.” Finally, and perhaps most notably, as both

defendants walked further away from the building and looked out over the Capitol grounds




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Defendant Pert stated “[w]ow, all those barricades are down now. Remember when we came in?

There was barricades.” Defendant Winn responded “[t]he patriots took em.”

         The Court must also consider that the defendant’s conduct on January 6, like the conduct

of scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for

their actions alongside so many others, the riot likely would have failed. Here, the defendant’s

participation in a riot that actually succeeded in halting the Congressional certification combined

with the defendant’s individual actions described above and below, renders the requested sentence

both necessary and appropriate in this case.

   II.      Factual and Procedural Background

                            The January 6, 2021 Attack on the Capitol

         To avoid exposition, the government refers to the general summary of the attack on the

U.S. Capitol. See ECF 36 (Statement of Offense), at 1-7. As this Court knows, a riot cannot occur

without rioters, and each rioter’s actions – from the most mundane to the most violent –

contributed, directly and indirectly, to the violence and destruction of that day. With that backdrop

we turn to the defendant’s conduct and behavior on January 6.

   Dana Joe Winn and Rachael Lynn Pert’s Role in the January 6, 2021 Attack on the Capitol

         Dana Joe Winn and Rachael Lynn Pert, in a domestic relationship at the time, traveled

together from Florida to Washington D.C. to attend then President Trump’s rally scheduled for

January 6th. During their drive to Washington D.C. Winn recorded a Facebook live video,

wherein he described his dissatisfaction with recent events and politics stating “[c]ause us as

American patriots, we’re tired of all this shit. It’s time to make a stand. I never really knew how




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deep and corrupt all this crap was and how far back it’s gone, but America needs to wake up.

We’re on the verge of fucking losing it.”

       After arriving in the District and attending the rally both defendants traveled to the Capitol

and entered the building, remaining in the building for roughly thirty-five minutes. While inside,

the defendants were in multiple portions of the building, to include the Rotunda and Statuary Hall.

Moreover, once the defendants exited the building, they remained on the steps of the U.S. Capitol,

among the large crowd of rioters directly outside the building and bragged to others about being

inside the building and being tear-gassed by law enforcement officers. A portion of the defendants’

actions once they exited the building were recorded by Winn, to include the following exchange:

       Pert: [talking to Winn] They said we stopped the vote.
       Winn: We stopped the vote?
       Pert: That's what they said, some people were saying we did stop the vote.
       Winn: Isn't that what we were trying to do?
       [40 seconds later]:
       Pert: [talking to unknown person] We were inside!
       Winn: And they were gassing us.
       Pert: We were trying to storm them to stop the vote and they were starting tear gassing and
forcing us out.

         Finally, a portion of this recording also captured Pert describing what she observed as

she looked out from the Capitol steps, over the throngs of rioters still bearing down on the

building. Notably, Pert stated “[w]ow, all those barricades are down now. Remember when we

came in? There was barricades.” Defendant Winn then responded “[t]he patriots took em.”


                       Dana Joe Winn and Rachael Lynn Pert’s Interview

       On January 19, 2021 both defendants voluntarily agreed to an interview with the FBI,

wherein they provided truthful and candid information about their role in the Capitol Riots.

Specifically, both defendants stated they traveled to the District to support the President, and

their country. Moreover, both defendants admitted to entering the Capitol building on January 6,

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2021 and identified themselves in the MPD flyer that was circulated in the days following the

riot (pictured below). Finally, Defendant Winn confirmed that the flagpole seized from his home

was the same flagpole pictured in the MPD flyer below and directed the FBI to various articles

of clothing inside his home that he was wearing while inside the building.




                       (Figure 1 Metropolitan Police Department BOLO)




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                                    The Charges and Plea Agreement

           On January 25, 2021, both defendants were charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) and 40 U.S.C. §§ 5104(e)(2)(G). On January 26, 2021, both defendants were

arrested at their homes in Florida. On February 19, 2021, both defendants were charged by a five-

count indictment with 18 U.S.C. §§ 1512(c)(2) and 2 (aiding and abetting), 1752(a)(1) and (2),

and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On October 4, 2021, both defendants pleaded guilty to

Count Two of the Indictment, charging them with a violation of 18 U.S.C. § 1752(a)(1), Entering

and Remaining in a Restricted Building and Grounds. By plea agreement, both defendants agreed

to pay $500 in restitution to the Department of the Treasury.

    III.      Statutory Penalties

           The defendant now faces a sentencing on a single count of 18 U.S.C. § 1752(a)(1). As

noted by the plea agreement, the defendant faces up to one year of imprisonment and a fine of up

to $100,000. The defendant must also pay restitution under the terms of her plea agreement. See

18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008). 1

    IV.       The Sentencing Guidelines and Guidelines Analysis

           As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines should

be the starting point and the initial benchmark” for determining a defendant’s sentence. Id. at 49.

The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of careful

study based on extensive empirical evidence derived from the review of thousands of individual



1
 The Court may also impose a term of supervised release of not more than one year, as well as
up to three years of probation. 18 U.S.C. §§ 3583(b)(3) and 3561(c)(2), USSG §5D1.2(a)(3) and
USSG §5B1.1, comment. n.1(a). See also PSR ¶ 92-93 and 98-99.
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sentencing decisions” and are the “starting point and the initial benchmark” for sentencing. Id. at

49.

       The government agrees with the Sentencing Guidelines calculation set forth in the PSR.

According to the PSR, the U.S. Probation Office calculated both defendants’ adjusted offense level

under the Sentencing Guidelines as follows:

       Base Offense Level (U.S.S.G. §2B2.3(a))                                      4

       Specific Offense Characteristics (U.S.S.G. §2B2.3(b)(1)(A)) 2                2

       Acceptance of Responsibility (USSG §3E1.1(a))                               -2

       Total Adjusted Offense Level                                                 4

       See PSR at ¶¶ 31-36.

               The U.S. Probation Office calculated both defendants’ criminal history as a

category I, which is not disputed. PSR at ¶ 44. Accordingly, the U.S. Probation Office calculated

each defendant’s total adjusted offense level, after acceptance, at 4, and their corresponding

Guidelines imprisonment range at 0-6 months. PSR at ¶¶ 36, 88. The defendants plea agreements

contain an agreed-upon Guideline’s calculation that mirrors the U.S. Probation Office’s

calculation.

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement



2
 The PSR incorrectly applies this specific offense characteristic because the trespass occurred
“at a secure government facility” under U.S.S.G. §2B2.3(b)(1)(A)(i). PSR ¶ at 32. As indicated
in the defendants plea agreements, the specific offense characteristic applies because the trespass
occurred “at any restricted building or grounds” under U.S.S.G. §2B2.3(b)(1)(A)(vii). ECF No.
35 at 3. On January 6, 2021, the U.S. Capitol was restricted because protectees of the United
States Secret Service were visiting. See 18 U.S.C. § 1752(c)(1)(B). Because a two-level
increase applies under either theory, there is no difference to the final offense level.


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community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita, 551 U.S.

at 349. As required by Congress, the Commission has “‘modif[ied] and adjust[ed] past practice in

the interests of greater rationality, avoiding inconsistency, complying with congressional

instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007); 28 U.S.C. §

994(m). In so doing, the Commission “has the capacity courts lack to ‘base its determinations on

empirical data and national experience, guided by professional staff with appropriate expertise,’”

and “to formulate and constantly refine national sentencing standards.” Kimbrough, 552 U.S. at

108. Accordingly, courts must give “respectful consideration to the Guidelines.” Id. at 101. As the

Third Circuit has stressed:

       The Sentencing Guidelines are based on the United States Sentencing Commission’s in-
       depth research into prior sentences, presentence investigations, probation and parole office
       statistics, and other data. U.S.S.G. §1A1.1, intro, comment 3. More importantly, the
       Guidelines reflect Congress’s determination of potential punishments, as set forth in
       statutes, and Congress’s on-going approval of Guidelines sentencing, through oversight of
       the Guidelines revision process. See 28 U.S.C. § 994(p) (providing for Congressional
       oversight of amendments to the Guidelines). Because the Guidelines reflect the collected
       wisdom of various institutions, they deserve careful consideration in each case. Because
       they have been produced at Congress's direction, they cannot be ignored.

       United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission

both determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that significantly increases the likelihood that the sentence is a reasonable one.”

Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s recommendation

of a sentencing range will ‘reflect a rough approximation of sentences that might achieve §

3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court



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knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will—the same Congress that served as a

backdrop to this criminal incursion—the Guidelines will be a powerful driver of consistency and

fairness moving forward.

   V.      Sentencing Factors Under 18 U.S.C. § 3553(a)

        The Court should next consider all of the applicable factors set forth in 18 U.S.C. § 3553(a).

Gall, 552 U.S. at 49-50. Under § 3553(a), “[t]he court shall impose a sentence sufficient, but not

greater than necessary, to comply with the purposes” of sentencing. 18 U.S.C. § 3553(a). The

purposes of sentencing, pursuant to § 3553(a)(2), are as follows:

        (A)     to reflect the seriousness of the offense, to promote respect for the law, and to
provide just punishment for the offense;
        (B)     to afford adequate deterrence to criminal conduct;
        (C)     to protect the public from further crimes of the defendant; and
        (D)     to provide the defendant with needed educational or vocational training, medical
care, or other correctional treatment in the most effective manner.

Some of the factors this Court must consider include: the nature and circumstances of the offense,

§ 3553(a)(1); the history and characteristics of the defendant, id.; the need for the sentence to

reflect the seriousness of the offense and promote respect for the law, § 3553(a)(2)(A); the need

for the sentence to afford adequate deterrence, § 3553(a)(2)(B); the Guidelines and the Guideline

range, 18 U.S.C. § 3553(a)(4), and the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct. § 3553(a)(6).

           A. The Nature and Circumstances of the Offense

        The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was the one of




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the only times in our history when the building was literally occupied by hostile participants. By

its very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each person who entered the Capitol on January 6 without

authorization did so under the most extreme of circumstances. As they entered the Capitol, they

would—at a minimum—have crossed through numerous barriers and barricades and heard the

throes of a mob. Depending on the timing and location of their approach, they also may have

observed extensive fighting with law enforcement officials and smelled chemical irritants in the

air. Make no mistake, no rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, we must assess such

conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum, should

look to a number of critical factors, to include: (1) whether, when, and how the defendant entered

the Capitol building; (2) whether the defendant encouraged violence; (3) whether the defendant

encouraged property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside of the building, and exactly where the defendant traveled; (7) the

defendant’s statements in person or on social media; (8) whether the defendant cooperated with,

or ignored commands from law enforcement officials; and (9) whether the defendant demonstrated

sincere remorse or contrition. While these factors are not exhaustive nor dispositive, they help to

place each defendant on a spectrum as to their fair and just punishment. Had the defendant

personally engaged in violence or destruction, he or she would be facing additional charges and/or

penalties associated with that conduct. The absence of violent or destructive acts on the part of the

defendant is therefore not a mitigating factor in misdemeanor cases.



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       As a veteran of the U.S. Navy, the defendant was well aware of the great jeopardy posed

by violent entry into the Capitol by the rioters. This is further made clear in the comments they

made that day, describing clashes with law enforcement in the building, the destruction of the

barricades outside the building, and the ensuing chaotic scene on the Capitol grounds. Moreover,

both defendants were inside the building shortly after the initial breach, at a time when violence

against law enforcement and property destruction were widespread both inside and outside the

building.

       While in the building, the defendants were captured on video inside Statuary Hall, as well

as the first floor on the east side of the building, with large groups of rioters. When confronted by

law enforcement inside the building, who were attempting to prevent a further breach of the

building, the defendant’s persisted, ultimately bragging about their efforts once outside the

building. Finally, the defendant’s comments, both before and after the riot, are telling. It is clear

the Winn, when referencing Antifa, was fully aware of the potential for violence on January 6th,

even if his expectations didn’t fully contemplate the scope of what the Capitol riot ultimately

became. Additionally, immediately upon exiting the building both defendants can be heard

bragging to other rioters about successfully stopping the certification, expressly stating that is what

they came to do. Accordingly, the nature and the circumstances of this offense establish the

appropriateness of the government’s requested sentence.

            B. The History and Characteristics of the Defendant

                   a. Defendant Pert

       As set forth in the PSR, Rachael Lynn Pert’s criminal history consists of three misdemeanor

convictions for Disorderly Conduct/Battery on a Law Enforcement Officer/Resisting Law

Enforcement, Driving While License Suspended or Revoked, and Battery. PSR at ¶ 41-43. Pert



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reported to the PSR writer that she enlisted in the U.S. Navy after graduating high school in 1999

and was discharged in 2000. Pert has maintained employment for several years, most recently

working as a construction laborer and housekeeper. Pert has been compliant with her conditions

of pre-trial release.

        To be clear, Pert’s military service is laudable, and the government has considered that

when fashioning its recommendation to the Court. However, it is also worth noting that as a former

servicemember her voluntary decision to storm a guarded government building is troubling in light

of her former military service and training.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

        The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 3 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).




3
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available          at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing, in United States v. Paul Hodgkins, 21-cr-188-RDM:

         [D]emocracy requires the cooperation of the governed. When a mob is prepared to
         attack the Capitol to prevent our elected officials from both parties from performing
         their constitutional and statutory duty, democracy is in trouble. The damage that
         [the defendant] and others caused that day goes way beyond the several-hour delay
         in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be



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deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United States

v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can be

made defending what happened in the Capitol on January 6th as the exercise of First Amendment

rights.”) (statement of Judge Moss). And it is important to convey to future potential rioters—

especially those who intend to improperly influence the democratic process—that their actions

will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       The actions of both defendants, both before and during the riots, demonstrate the need for

specific deterrence. As stated above, Winn described bringing a flagpole from Florida to

Washington D.C. to use if he encountered Antifa at the rally. Moreover, in the video recorded by

Winn, described above, both defendants can be heard bragging to other rioters about their actions

inside the building.   Specifically, both defendants bragged about being tear-gassed by law

enforcement during the bedlam taking place inside the building, all while continuing to remain on

the steps of the Capitol mere feet from where they exited the building. Pert’s comments concerning

the barricades being destroyed and overrun, and Winn’s response of “the patriots took em,” only

serve to amplify the need for specific deterrence.

       The government acknowledges that the defendant’s accepted responsibility early by

entering into this plea agreement and were cooperative with law enforcement. On the other hand,

that cooperativeness and early acceptance of responsibility came after the defendants were

confronted with ample evidence concerning their involvement in the events of January 6.

Regardless, both defendants’ early acceptance of responsibility, cooperation with law




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enforcement, and honesty concerning their participation in the Capitol Riots is reflected in the

misdemeanor plea agreement offered by the government.

           E. The Need to Avoid Unwarranted Sentencing Disparities

       As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress. 4 Each offender must be sentenced based on their individual circumstances, but with the

backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a spectrum

that ranges from conduct meriting a probationary sentence to crimes necessitating years of

imprisonment. The misdemeanor defendants will generally fall on the lower end of that spectrum,

but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A

probationary sentence should not necessarily become the default. 5 Indeed, the government invites

the Court to join Judge Lamberth’s admonition that “I don’t want to create the impression that

probation is the automatic outcome here because it’s not going to be.” United States v. Anna

Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr. 6/23/2021 at 19; see also United States v. Valerie Ehrke,



4
   Attached to this supplemental sentencing memorandum is a table providing additional
information about the sentences imposed on other Capitol breach defendants. That table also
shows that the requested sentence here would not result in unwarranted sentencing disparities.
5
  Early in this investigation, the Government made a very limited number of plea offers in
misdemeanor cases that included an agreement to recommend probation, including in United
States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-
cr-00097(PFF); and United States v. Donna Sue Bissey, 1:21-cr-00165(TSC). The government is
abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United
States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing
disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty under a “fast-
track” program and those who do not given the “benefits gained by the government when
defendants plead guilty early in criminal proceedings”) (citation omitted).


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1:21-cr-00097 (PFF), Tr. 9/17/2021 at 13 (“Judge Lamberth said something to the effect . . . ‘I

don't want to create the impression that probation is the automatic outcome here, because it's not

going to be.’ And I agree with that. Judge Hogan said something similar.”) (statement of Judge

Friedman).

       The government and the sentencing courts have already begun to make meaningful

distinctions between offenders. Those who engaged in felonious conduct are generally more

dangerous, and thus, treated more severely in terms of their conduct and subsequent punishment.

Those who trespassed, but engaged in aggravating factors, merit serious consideration of

institutional incarceration. Those who trespassed, but engaged in less serious aggravating factors,

deserve a sentence more in line with minor incarceration or home detention.

       The defendants have pleaded guilty to Count Two of the Indictment, charging them with a

violation of 18 U.S.C. § 1752(a)(1). For one thing, although all the other defendants discussed

below participated in the Capitol breach on January 6, 2021, many salient differences—such as

how a defendant entered the Capitol, how long she remained inside, the nature of any statements

she made (on social media or otherwise), whether she destroyed evidence of his participation in

the breach, etc.—help explain the differing recommendations and sentences.            And as that

discussion illustrates, avoiding unwarranted disparities requires the courts to consider not only a

defendant’s “records” and “conduct” but other relevant sentencing criteria, such as a defendant’s

expression of remorse or cooperation with law enforcement. See United States v. Hemphill, 514

F.3d 1350, 1365 (D.C. Cir. 2008) (no unwarranted disparity regarding lower sentence of

codefendant who, unlike defendant, pleaded guilty and cooperated with the government).

       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not yet



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imposed.” United States v. Godines, 433 F.3d 68, 69–71 (D.C. Cir. 2006). “The most a judge can

do is consider those other sentences that do exist,” and “[t]he comparable sentences will be much

smaller in the early days of any sentencing regime than in the later.” Id.; see generally United

States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar cases

constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in sentences.”).

In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail ‘unwarranted’

disparities is to follow the Guidelines, which are designed to treat similar offenses and offenders

similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A sentence within

a Guideline range ‘necessarily’ complies with § 3553(a)(6).”).

       Sentencing courts are permitted to consider sentences imposed on co-defendants in

assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C. Cir. 2016); United

States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir. 2010); United States v. Bras, 483 F.3d 103,

114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with significant

distinguishing features, including the historic assault on the seat of legislative branch of federal

government, the vast size of the mob, the goal of impeding if not preventing the peaceful transfer

of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses is an appropriate group for purposes of measuring disparity of any future sentence.

       As the number of sentences in the Capitol breach misdemeanor cases increase and the pool

of comparators grows, the effect on sentences of obviously aggravating considerations should

become more apparent. The same is true for obviously mitigating factors, such as a defendant’s

efforts to prevent assaults on police.



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       While no previously sentenced case contains the specific mix of aggravating and mitigating

factors present here, the Court may also consider the sentence imposed on Jessica and Joshua

Bustle for reference. See United States v. Jessica and Joshua Bustle, 1:21-cr238 (TFH). In that

case, both defendants pleaded guilty to one count of § 18 U.S.C. 5104(e)(2)(G) for Parading,

Demonstrating, or Picketing in a Capitol Building, and were sentenced to 60 and 30 days of home

detention (respectively), as well as 24 months’ probation, 40 hours of community service, and

$500 restitution. In that case, both defendant’s traveled from outside the District to attend the days

events, and entered the U.S. Capitol through a door near the Rotunda approximately thirty minutes

after that entrance had been breached. Both defendants were inside the building for approximately

twenty minutes before exiting after law enforcement cleared the Rotunda. Moreover, Jessica

Bustle posted several social media posts with rhetoric similar to that of Pert and Winn, including

expressing dissatisfaction with the 2020 Presidential election and bragging about her role on

January 6th.

       As stated above, the defendants in the instant case also traveled to Washington D.C. to

attend the rally, entered the Capitol Building during the riots, were captured on video on the East

Front House side, and engaged in political rhetoric centered on stopping the certification of the

electoral college vote. However, notable distinctions include the fact that Pert and Winn

acknowledged the law enforcement presence inside the building and being tear gassed and driven

out of the building. Moreover, the defendants in the instant case pleaded guilty to a Class A

misdemeanor, whereas Jessica and Joshua Bustle received a similar sentence to that which the

government is requesting here after pleading to a Class B misdemeanor.

       The Court should also consider the case of Kevin Cordon, a Capitol breach case sentenced

before this Court. See United States v. Kevin Cordon, 1:21-CR-00277 (TNM). In that case, Cordon



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pleaded guilty to one count of 18 U.S.C. § 1752(a)(1) for Entering and Remaining in a Restricted

Building or Grounds and was sentenced to 12 months’ probation, 100 hours community service, a

$4000 fine, and $500 restitution.6

       In that case Cordon, along with his brother (co-defendant) traveled to Washington D.C. to

attend the rally at the Ellipse. When they arrived at the rally both defendants were wearing light

body armor and carrying gas masks. Additionally, Kevin Cordon had an American flag draped

over his shoulders as if it was a cape. When both defendants arrived at the Capitol they observed

violence against law enforcement officers, ultimately entering the U.S. Capitol building through

the Senate Wing door shortly after the initial breach of the building. After walking around the

building, and at various times recording inside the building, both defendants exited the building.

Finally, Kevin Cordon was interviewed outside the Capitol building, wherein he stated, generally,

that he was in the District because he believed the 2020 Presidential election was stolen.

       The comparisons between the instant case and Cordon are numerous. To start, Winn and

Pert are pleading guilty to the same charge. Moreover, the conduct at issue in both cases is not

dissimilar. Specifically, in both cases the defendant’s traveled to the District to attend the rally

and are captured on video inside the building early on during the breach. Although Pert and Winn

do not carry gas masks or don light armor, the defendants in both cases express similar rhetoric in

an attempt to justify their actions on January 6th.

                                     Comparing Pert and Winn’s Conduct

       As stated above, Pert and Winn’s conduct on January 6th are nearly identical. They traveled

together from Florida to the District and were together throughout their time at the Capitol.




6
 In Cordon, the government requested a sentence of thirty days incarceration, twelve months
supervised release, and $500 restitution.
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Moreover, neither defendant committed a criminal act independent of the other. Finally, with the

exception of the Facebook live video posted by Winn during their drive to D.C. (which Pert was

present for and pictured in), both Pert and Winn expressed similar rhetoric concerning their desire

to stop the certification of the electoral vote count being conducted by the Joint Session of

Congress that day. Accordingly, the government believes identical sentences for both defendant’s

is appropriate in this case.

          In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

    VI.      Conclusion

          Sentencing requires the Court to carefully balance the § 3553(a) factors. As explained

herein, some of those factors support a sentence of incarceration and some support a more lenient

sentence. Balancing these factors, the government recommends that this Court sentence the

defendant to three months home confinement, 24 months of probation, forty (40) hours of

community service, and $500 in restitution. Such a sentence protects the community, promotes



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respect for the law, and deters future crime by imposing restrictions on their liberty as a

consequence of their behavior, while recognizing their early acceptance of responsibility.



                                             Respectfully submitted,

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                                                                           APPENDIX



Table 1: Cases in which the government recommended a probation sentence without home detention 1

    Defendant Name         Case Number                 Offense of Conviction            Government                       Sentence Imposed
                                                                                        Recommendation
    Morgan-Lloyd, Anna     1:21-CR-00164-RCL           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         36 months’ probation, 120
                                                                                        hours community service,         community service hours, $500
                                                                                        $500 restitution                 restitution
    Ehrke, Valerie         1:21-CR-00097-PLF           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         36 months’ probation, $500
                                                                                        hours community service,         restitution
                                                                                        $500 restitution
    Bissey, Donna          1:21-CR-00165-TSC           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 40         14 days incarceration, 60 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
    Hiles, Jacob           1:21-CR-00155-ABJ           40 U.S.C. § 5104(e)(2)(G)        36 months’ probation, 60         24 months’ probation, 60 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution


Table 2: Cases in which the government recommended a probation sentence with home detention
    Defendant Name         Case Number                 Offense of Conviction            Government                       Sentence Imposed
                                                                                        Recommendation
    Bustle, Jessica        1:21-CR-00238-TFH           40 U.S.C. § 5104(e)(2)(G)        3 months home detention,         60 days of home detention, 24
                                                                                        36 months’ probation, 40         months’ probation, 40 hours
                                                                                        hours community service,         community service, $500 restitution
                                                                                        $500 restitution
    Bustle, Joshua         1:21-CR-00238-TFH           40 U.S.C. § 5104(e)(2)(G)        1 month home detention, 36       30 days home detention, 24 months’
                                                                                        months’ probation, 40            probation, 40 hours community
                                                                                                                         service, $500 restitution


1
  Early in this investigation, the Government made a very limited number of plea offers in misdemeanor cases that included an agreement to recommend probation,
including in United States v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-00097(PFF); and United States v. Donna
Sue Bissey, 1:21-cr-00165(TSC). The government is abiding by its agreements in those cases, but has made no such agreement in this case. Cf. United States v.
Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead guilty
under a “fast-track” program and those who do not given the “benefits gained by the government when defendants plead guilty early in criminal proceedings”)
(citation omitted).

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                                                                          hours community service,
                                                                          $500 restitution
    Doyle, Danielle     1:21-CR-00324-TNM     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       2 months’ probation, $3,000 fine,
                                                                          36 months’ probation, 60       $500 restitution
                                                                          hours community service,
                                                                          $500 probation
    Bennett, Andrew     1:21-CR-00227-JEB     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       3 months of home detention,
                                                                          36 months’ probation, 60       24 months’ probation, 80 hours
                                                                          hours community service,       community service, $500 restitution
                                                                          $500 restitution
    Mazzocco, Matthew   1:21-CR-00054-TSC     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       45 days incarceration, 60 hours
                                                                          36 months’ probation, 60       community service 2, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Rosa, Eliel         1:21-CR-00068-TNM     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     12 months’ probation, 100 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Gallagher, Thomas   1:21-CR-00041-CJN     40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36     24 months’ probation, 60 hours
                                                                          months’ probation, 60          community service, $500 restitution
                                                                          hours community service, a
                                                                          fine, and $500 restitution
    Vinson, Thomas      1:21-CR-00355-RBW     40 U.S.C. § 5104(e)(2)(G)   3 months home detention,       5 years’ probation, $5,000 fine, $500
                                                                          3 years’ probation, 60 hours   restitution, 120 hours community
                                                                          community service, $500        service
                                                                          restitution
    Dillon, Brittiany   1:21-CR-00360-DLF     40 U.S.C. § 5104(e)(2)(D)   3 months home detention,       60 days home detention, 3 years’
                                                                          36 months’ probation, 60       probation, $500 restitution
                                                                          hours community service,
                                                                          $500 restitution
    Sanders, Jonathan   1:21-CR-00384-CJN     40 U.S.C. § 5104(e)(2)(G)   2 months home detention,       36 months’ probation, 60 hours
                                                                          36 months’ probation, 60       community service, $500 restitution


2
 The government believes the Court’s 10/4/2021 minute entry in this case is incorrect and the sentence requires 60 hours of community
service, not 60 months.

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                                                                     hours community service,
                                                                     $500 restitution
Fitchett, Cindy      1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     1 month home detention, 36 months’
                                                                     36 months’ probation, 60     probation, 60 hours community
                                                                     hours community service,     service, $500 restitution
                                                                     $500 restitution
Sweet, Douglas       1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     1 month home detention, 36 months’
                                                                     36 months’ probation, 60     probation, 60 hours community
                                                                     hours community service,     service, $500 restitution
                                                                     $500 restitution
Cordon, Sean         1:21-CR-00269-TNM   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     2 months’ probation, $4000 fine
                                                                     36 months’ probation, 60
                                                                     hours community service,
                                                                     $500 restitution
Wilkerson, John IV   1:21-CR-00302-CRC   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     36 months’ probation, $2500 fine, 60
                                                                     36 months’ probation, 60     hours community service, $500
                                                                     hours community service,     restitution
                                                                     $500 restitution
Jones, Caleb         1:21-CR-00321-JEB   40 U.S.C. § 5104(e)(2)(G)   3 months home detention,     2 months home detention, 24
                                                                     36 months’ probation, 60     months’ probation, $500 restitution,
                                                                     hours community service,     100 hours community service
                                                                     $500 restitution
Brown, Terry         1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days home detention, 36   1 month home detention, 36 months’
                                                                     months’ probation, 60        probation, $500 restitution, 60 hours
                                                                     hours community service,     community service
                                                                     $500 restitution
Wrigley, Andrew      1:21-CR-00042-ABJ   40 U.S.C. § 5104(e)(2)(G)   2 months home detention,     18 months’ probation, $2000 fine,
                                                                     36 months’ probation, 60     $500 restitution, 60 hours
                                                                     hours community service,     community service
                                                                     $500 restitution
Parks, Jennifer      1:21-CR-00363-CJN   40 U.S.C. § 5104(e)(2)(G)   1 month home detention, 36   24 months’ probation, $500
                                                                     months’ probation, 60        restitution, 60 hours community
                                                                     hours community service,     service
                                                                     $500 restitution




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 Reimler, Nicholas      1:21-CR-00239-RDM       40 U.S.C. § 5104(e)(2)(G)    2 months home detention,      1 month home detention, 36 months’
                                                                             36 months’ probation, 60      probation, 60 hours community
                                                                             hours community service,      service, $500 restitution
                                                                             $500 restitution


Table 3: Cases in which the government recommended a sentence of incarceration
 Defendant Name        Case Number             Offense of Conviction        Government                    Sentence Imposed
                                                                            Recommendation
 Curzio, Michael       1:21-CR-00041-CJN       40 U.S.C. § 5104(e)(2)(G)    Not applicable                6 months incarceration (time served),
                                                                                                          $500 restitution
 Hodgkins, Paul        1:21-CR-00188-RDM       18 U.S.C. § 1512(c)(2)       18 months incarceration       8 months incarceration, 24 months’
                                                                                                          supervised release, $2000 restitution
 Dresch, Karl          1:21-CR-00071-ABJ       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration        6 months incarceration (time served),
                                                                            (time served), $500           $500 restitution
                                                                            restitution
 Jancart, Derek        1:21-CR-00148-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Rau, Erik             1:21-CR-00467-JEB       40 U.S.C. § 5104(e)(2)(D)    4 months incarceration,       45 days incarceration, $500
                                                                            $500 restitution              restitution
 Hemenway, Edward      1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                            restitution                   community service, $500 restitution
 Reeder, Robert        1:21-CR-00166-TFH       40 U.S.C. § 5104(e)(2)(G)    6 months incarceration,       3 months incarceration, $500
                                                                            $500 restitution              restitution
 Bauer, Robert         1:21-CR-00049-TSC       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   45 days incarceration, 60 hours
                                                                            restitution                   community service, $500 restitution
 Vinson, Lori          1:21-CR-00355-RBW       40 U.S.C. § 5104(e)(2)(G)    30 days incarceration, $500   5 years’ probation, $5,000 fine, $500
                                                                            restitution                   restitution, 120 hours community
                                                                                                          service
 Griffith, Jack        1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)    3 months incarceration,       90 days home detention, 36 months’
                                                                            $500 restitution              probation, $500 restitution
 Torrens, Eric         1:21-CR-00204-BAH       40 U.S.C. § 5104(e)(2)(G)    2 weeks incarceration, $500   90 days home detention, 36 months’
                                                                            restitution                   probation, $500 restitution




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Gruppo, Leonard      1:21-CR-00391-BAH   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   90 days home detention, 24 months’
                                                                     restitution                   probation, $3,000 fine, $500
                                                                                                   restitution
Ryan, Jenna          1:21-CR-00050-CRC   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $1000 fine,
                                                                     restitution                   $500 restitution
Croy, Glenn          1:21-CR-00162-BAH   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   90 days home detention, 14 days
                                                                     restitution                   community correctional facility, 36
                                                                                                   months’ probation, $500 restitution
Stotts, Jordan       1:21-CR-00272-TJK   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   60 days home detention, 24 months’
                                                                     restitution                   probation, $500 restitution, 60 hours
                                                                                                   community service
Fairlamb, Scott      1:21-CR-00120-RCL   18 U.S.C. § 1512(c)(2),     44 months incarceration, 36   41 months incarceration, 36 months
                                         18 U.S.C. § 111(a)(1)       months’ supervised release,   supervised release, $2000 restitution
                                                                     $2000 fine
Camper, John         1:21-CR-00325-CKK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   60 days incarceration, $500
                                                                     restitution                   restitution, 60 hours community
                                                                                                   service
Rukstales, Bradley   1:21-CR-00041-CJN   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Cordon, Kevin        1:21-CR-00277-TNM   18 U.S.C. § 1752(a)(1)      30 days incarceration, 12     12 months’ probation, 100 hours
                                                                     months supervised release,    community service, $4000 fine, $500
                                                                     $500 restitution              restitution
Chansley, Jacob      1:21-CR-00003-RCL   18 U.S.C. § 1512(c)(2)      51 months incarceration, 36   41 months incarceration, 36 months
                                                                     months supervised release,    supervised release, $2000 restitution
                                                                     $2000 restitution
Mish, David          1:21-CR-00112-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution
Lolos, John          1:21-CR-00243-APM   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   14 days incarceration, $500
                                                                     restitution                   restitution
Scavo, Frank         1:21-CR-00254-RCL   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   60 days incarceration, $5000 fine,
                                                                     restitution                   $500 restitution
Abual-Ragheb,        1:21-CR-00043-CJN   40 U.S.C. § 5104(e)(2)(G)   30 days incarceration, $500   60 days home detention, 36 months’
Rasha                                                                restitution                   probation, 60 hours community
                                                                                                   service, $500 restitution
Peterson, Russell    1:21-CR-00309-ABJ   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   30 days incarceration, $500
                                                                     restitution                   restitution

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Simon, Mark        1:21-CR-00067-ABJ   40 U.S.C. § 5104(e)(2)(G)   45 days incarceration, $500   35 days incarceration, $500
                                                                   restitution                   restitution
Ericson, Andrew    1:21-CR-00506-TNM   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   20 days incarceration (consecutive
                                                                   restitution                   weekends), 24 months’ probation,
                                                                                                 $500 restitution
Pham, Tam Dinh     1:21-CR-00109-TJK   40 U.S.C. § 5104(e)(2)(G)   60 days incarceration, $500   45 days jail time, $1000 fine, $500
                                                                   restitution                   restitution
Nelson, Brandon    1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   24 months’ probation, $2500 fine,
                                                                   restitution                   $500 restitution, 50 hours
                                                                                                 community service
Markofski, Abram   1:21-CR-00344-JDB   40 U.S.C. § 5104(e)(2)(G)   14 days incarceration, $500   24 months’ probation, $1000 fine,
                                                                   restitution                   $500 restitution, 50 hours
                                                                                                 community service
Marquez, Felipe    1:21-CR-00136-RC    18 U.S.C. § 1752(a)(2)      4 months incarceration, 1     3 months home detention, 18
                                                                   year supervised release,      months’ probation, $500 restitution
                                                                   $500 restitution




                                                            6
